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7
8                          UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF CALIFORNIA
9
10     Scott Johnson                             Case No.
11               Plaintiff,
12                                               Complaint For Damages And
            v.                                   Injunctive Relief For Violations
13                                               Of: Americans With Disabilities
       Iguanas Burritozilla, Corp., a            Act; Unruh Civil Rights Act
14     California Corporation

15               Defendant

16
17           Plaintiff Scott Johnson complains of Iguanas Burritozilla, Corp., a
18   California Corporation; and alleges as follows:
19
20
       PARTIES:
21
       1. Plaintiff is a California resident with physical disabilities. Plaintiff is a
22
     level C-5 quadriplegic. He cannot walk and has significant manual dexterity
23
     impairments. He uses a wheelchair for mobility and has a specially equipped
24
     van.
25
       2. Defendant Iguanas Burritozilla, Corp. owned Iguanas Burritozilla
26
     located at or about 4848 San Felipe Rd, San Jose, California, in August 2021
27
     and September 2021.
28


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1      3. Defendant Iguanas Burritozilla, Corp. owns Iguanas Burritozilla
2    (“Restaurant”) located at or about 4848 San Felipe Rd, San Jose, California,
3    currently.
4      4. Plaintiff does not know the true names of Defendants, their business
5    capacities, their ownership connection to the property and business, or their
6    relative responsibilities in causing the access violations herein complained of,
7    and alleges a joint venture and common enterprise by all such Defendants.
8    Plaintiff is informed and believes that each of the Defendants herein is
9    responsible in some capacity for the events herein alleged, or is a necessary
10   party for obtaining appropriate relief. Plaintiff will seek leave to amend when
11   the true names, capacities, connections, and responsibilities of the Defendants
12   are ascertained.
13
14     JURISDICTION & VENUE:
15     5. The Court has subject matter jurisdiction over the action pursuant to 28
16   U.S.C. § 1331 and § 1343(a)(3) & (a)(4) for violations of the Americans with
17   Disabilities Act of 1990, 42 U.S.C. § 12101, et seq.
18     6. Pursuant to supplemental jurisdiction, an attendant and related cause
19   of action, arising from the same nucleus of operative facts and arising out of
20   the same transactions, is also brought under California’s Unruh Civil Rights
21   Act, which act expressly incorporates the Americans with Disabilities Act.
22     7. Venue is proper in this court pursuant to 28 U.S.C. § 1391(b) and is
23   founded on the fact that the real property which is the subject of this action is
24   located in this district and that Plaintiff's cause of action arose in this district.
25
26     FACTUAL ALLEGATIONS:
27     8. Plaintiff went to the Restaurant in August 2021 and September 2021
28   (twice) with the intention to avail himself of its goods or services motivated in


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1    part to determine if the defendants comply with the disability access laws.
2      9. The Restaurant is a facility open to the public, a place of public
3    accommodation, and a business establishment.
4      10. Unfortunately, on the dates of the plaintiff’s visits, the defendants failed
5    to provide wheelchair accessible dining surfaces in conformance with the ADA
6    Standards as it relates to wheelchair users like the plaintiff.
7      11. The Restaurant provides dining surfaces to its customers but fails to
8    provide wheelchair accessible dining surfaces.
9      12. A problem that plaintiff encountered was that there was insufficient toe
10   and knee clearance under the dining surfaces.
11     13. Plaintiff believes that there are other features of the dining surfaces that
12   likely fail to comply with the ADA Standards and seeks to have fully compliant
13   dining surfaces for wheelchair users.
14     14. On information and belief, the defendants currently fail to provide
15   wheelchair accessible dining surfaces.
16     15. The failure to provide accessible facilities created difficulty and
17   discomfort for the Plaintiff.
18     16. These barriers relate to and impact the plaintiff’s disability. Plaintiff
19   personally encountered these barriers.
20     17. As a wheelchair user, the plaintiff benefits from and is entitled to use
21   wheelchair accessible facilities. By failing to provide accessible facilities, the
22   defendants denied the plaintiff full and equal access.
23     18. The defendants have failed to maintain in working and useable
24   conditions those features required to provide ready access to persons with
25   disabilities.
26     19. The barriers identified above are easily removed without much
27   difficulty or expense. They are the types of barriers identified by the
28   Department of Justice as presumably readily achievable to remove and, in fact,


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1    these barriers are readily achievable to remove. Moreover, there are numerous
2    alternative accommodations that could be made to provide a greater level of
3    access if complete removal were not achievable.
4      20. Plaintiff will return to the Restaurant to avail himself of its goods or
5    services and to determine compliance with the disability access laws once it is
6    represented to him that the Restaurant and its facilities are accessible. Plaintiff
7    is currently deterred from doing so because of his knowledge of the existing
8    barriers and his uncertainty about the existence of yet other barriers on the
9    site. If the barriers are not removed, the plaintiff will face unlawful and
10   discriminatory barriers again.
11     21. Given the obvious and blatant nature of the barriers and violations
12   alleged herein, the plaintiff alleges, on information and belief, that there are
13   other violations and barriers on the site that relate to his disability. Plaintiff will
14   amend the complaint, to provide proper notice regarding the scope of this
15   lawsuit, once he conducts a site inspection. However, please be on notice that
16   the plaintiff seeks to have all barriers related to his disability remedied. See
17   Doran v. 7-11, 524 F.3d 1034 (9th Cir. 2008) (holding that once a plaintiff
18   encounters one barrier at a site, he can sue to have all barriers that relate to his
19   disability removed regardless of whether he personally encountered them).
20
21   I. FIRST CAUSE OF ACTION: VIOLATION OF THE AMERICANS
22   WITH DISABILITIES ACT OF 1990 (On behalf of Plaintiff and against all
23   Defendants.) (42 U.S.C. section 12101, et seq.)
24     22. Plaintiff re-pleads and incorporates by reference, as if fully set forth
25   again herein, the allegations contained in all prior paragraphs of this
26   complaint.
27     23. Under the ADA, it is an act of discrimination to fail to ensure that the
28   privileges, advantages, accommodations, facilities, goods and services of any


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1    place of public accommodation is offered on a full and equal basis by anyone
2    who owns, leases, or operates a place of public accommodation. See 42 U.S.C.
3    § 12182(a). Discrimination is defined, inter alia, as follows:
4             a. A failure to make reasonable modifications in policies, practices,
5                or procedures, when such modifications are necessary to afford
6                goods,     services,   facilities,   privileges,     advantages,   or
7                accommodations to individuals with disabilities, unless the
8                accommodation would work a fundamental alteration of those
9                services and facilities. 42 U.S.C. § 12182(b)(2)(A)(ii).
10            b. A failure to remove architectural barriers where such removal is
11               readily achievable. 42 U.S.C. § 12182(b)(2)(A)(iv). Barriers are
12               defined by reference to the ADA Standards.
13            c. A failure to make alterations in such a manner that, to the
14               maximum extent feasible, the altered portions of the facility are
15               readily accessible to and usable by individuals with disabilities,
16               including individuals who use wheelchairs or to ensure that, to the
17               maximum extent feasible, the path of travel to the altered area and
18               the bathrooms, telephones, and drinking fountains serving the
19               altered area, are readily accessible to and usable by individuals
20               with disabilities. 42 U.S.C. § 12183(a)(2).
21     24. When a business provides dining surfaces, it must provide accessible
22   dining surfaces.
23     25. Here, accessible dining surfaces have not been provided in
24   conformance with the ADA Standards.
25     26. The Safe Harbor provisions of the 2010 Standards are not applicable
26   here because the conditions challenged in this lawsuit do not comply with the
27   1991 Standards.
28     27. A public accommodation must maintain in operable working condition


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1    those features of its facilities and equipment that are required to be readily
2    accessible to and usable by persons with disabilities. 28 C.F.R. § 36.211(a).
3       28. Here, the failure to ensure that the accessible facilities were available
4    and ready to be used by the plaintiff is a violation of the law.
5
6    II. SECOND CAUSE OF ACTION: VIOLATION OF THE UNRUH CIVIL
7    RIGHTS ACT (On behalf of Plaintiff and against all Defendants.) (Cal. Civ.
8    Code § 51-53.)
9       29. Plaintiff repleads and incorporates by reference, as if fully set forth
10   again herein, the allegations contained in all prior paragraphs of this
11   complaint. The Unruh Civil Rights Act (“Unruh Act”) guarantees, inter alia,
12   that persons with disabilities are entitled to full and equal accommodations,
13   advantages, facilities, privileges, or services in all business establishment of
14   every kind whatsoever within the jurisdiction of the State of California. Cal.
15   Civ. Code §51(b).
16      30. The Unruh Act provides that a violation of the ADA is a violation of the
17   Unruh Act. Cal. Civ. Code, § 51(f).
18      31. Defendants’ acts and omissions, as herein alleged, have violated the
19   Unruh Act by, inter alia, denying, or aiding, or inciting the denial of, Plaintiff’s
20   rights to full and equal use of the accommodations, advantages, facilities,
21   privileges, or services offered.
22      32. Because the violation of the Unruh Civil Rights Act resulted in difficulty,
23   discomfort or embarrassment for the plaintiff, the defendants are also each
24   responsible for statutory damages, i.e., a civil penalty. (Civ. Code § 55.56(a)-
25   (c).)
26      33. Although the plaintiff encountered frustration and difficulty by facing
27   discriminatory barriers, even manifesting itself with minor and fleeting
28   physical symptoms, the plaintiff does not value this very modest physical


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1    personal injury greater than the amount of the statutory damages.
2
3           PRAYER:
4           Wherefore, Plaintiff prays that this Court award damages and provide
5    relief as follows:
6        1. For injunctive relief, compelling Defendants to comply with the
7    Americans with Disabilities Act and the Unruh Civil Rights Act. Note: the
8    plaintiff is not invoking section 55 of the California Civil Code and is not
9    seeking injunctive relief under the Disabled Persons Act at all.
10       2. For equitable nominal damages for violation of the ADA. See
11   Uzuegbunam v. Preczewski, --- U.S. ---, 2021 WL 850106 (U.S. Mar. 8, 2021)
12   and any other equitable relief the Court sees fit to grant.
13       3. Damages under the Unruh Civil Rights Act, which provides for actual
14   damages and a statutory minimum of $4,000 for each offense.
15       4. Reasonable attorney fees, litigation expenses and costs of suit, pursuant
16   to 42 U.S.C. § 12205; and Cal. Civ. Code §§ 52.
17
18   Dated: October 28, 2021           CENTER FOR DISABILITY ACCESS
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20
                                       By: _______________________
21
                                             Amanda Seabock, Esq.
22                                           Attorney for plaintiff
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